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UNITED STATES DISTRICT CoURT F[LED 5a pmj/l
FOR THE WESTERN DISTRICT OF TENNESSEE ' '

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UNITED STATES OF AMERICA

VS.

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DESHONE L. SKINNER, et al
APPLICATION, ORDER and WRI'I` FOR HABEAS CORPUS AD PROSEQUDUM

Thornas A. Colthurst applies to the Court for a Writ to have Miehael Wortham; DOB 04/14/1977; Inmate
# 106871, now being detained in the Mississippi Department of Correction-Parchrnan Penitentiay, appear
before the Honorable S. Thomas Anderson on September 8, 2005 at 2:00 p.m. for an Initial Appearance and
such other appearances as this Court Jmay direct.

Respectfully submitted this_z____`?/ day of August, 2005.

Respectfully submitted,

TERRELL L. HARRIS

//E;“/

Thornas A. COlthurSt
Assistant U. S. Attorney

167 N. Main Street, 8th Floor
Mernphis, Tennessee 38103
(#018324 Tennessee)

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Upon consideration of the foregoing Application,

DAV[D G. JOLLY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN - MISSISSIPPI DEPARTMENT OF CORRECTION PARCHMAN PENlTENTA]RY

YOU ARE HEREBY COMMANDED to have Michael Wortham; DOB 04/14/1977; bimate #
106871, appear before the Honorable S. Thornas Anderson at the date and time aforementioned

ENTERED this 2 _3 day of August 2005. M\

TuM. P am
U 1 ed tates Magistrate Judge

  
 
 

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with F\uie 55 andlor 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

